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                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

CHADWICK WILBOURN,                        )
AIS #298789,                              )
                                          )
           Plaintiff,                     )
                                          )
   v.                                     ) CIVIL ACTION NO. 2:21-CV-722-WHA
                                          )               [WO]
                                          )
OFFICER WATKINS,                          )
                                          )
           Defendants.                    )
                                  ORDER AND DECREE

        On November 12, 2021, the Magistrate Judge filed a Recommendation to which no

timely objection has been filed. Doc. 3. There being no objection filed to the

Recommendation, and after an independent review of the file, the court concludes the

Magistrate Judge’s Recommendation should be adopted. Accordingly, it is ORDERED

that:

        1. The Recommendation of the Magistrate Judge Doc. 3 is ADOPTED.

        2. This case be TRANSFERRED to the United States District Court for the

           Northern District of Alabama in accordance with the directives of 28 U.S.C. §

           1404(a).

        3. The Clerk of the Court is DIRECTED to take the necessary steps to effectuate

           the transfer of this action.

        This case is closed in this Court.
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Done, this 3rd day of December 2021.

                          /s/ W. Harold Albritton
                          W. HAROLD ALBRITTON
                          SENIOR UNITED STATES DISTRICT JUDGE




                                   2
